
THOMPSON, Judge,
dissenting.
The record reveals that, although Dennis Williams styled this action as a declaratory-judgment action, Williams actually sought postconviction relief pursuant to Rule 32, Ala. R.Crim. P. In his complaint, Williams alleged that his constitutional rights had been violated by the trial court’s “indefinite characterization of the indicted offense [as] ‘murder’ ” while giving instructions at his 1981 trial. The scope of Rule 32, Ala. R.Crim. P., encompasses the relief sought by Williams in his complaint. Because I believe that jurisdiction is proper in the Court of Criminal Appeals, I must dissent.
MURDOCK, J., joins.
